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United States District Court
District of Massachusetts

Amin Karimpour,
Plaintiff,

Civil Action No.
21-11498-NMG

v.
Stanley Black & Decker, Inc.,

Defendant.

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MEMORANDUM & ORDER

GORTON, J.

Before the Court is plaintiff’s motion for the
“disqualification” of the judicial officer assigned to this
case, pursuant to 28 U.S.C. § 455(a).

In May, 2022, this Court allowed defendant’s motion to
dismiss all claims except for plaintiff’s retaliatory discharge
claim. More than two years later and after extensive discovery
and motion practice, this Court allowed defendant’s motion for
summary judgment on the remaining claim. Defendant has
subsequently filed multiple motions for reconsideration, a
motion to quash, and objections to defendant’s bill of costs.

Defendant now moves for the disqualification of the
judicial officer assigned to this case. For the reasons that
follow, the motion will be denied.

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Section 455(a) of Title 28 provides, in relevant part, that
[a]jny justice, judge or magistrate of the United
States shall disqualify himself in any proceeding in
which his impartiality might reasonably be questioned.
The inquiry is objective, asking if a reasonable member of the

public, “fully informed of all the relevant facts, would fairly

question the trial judge’s impartiality.” In re United States,

158 F.3d 26, 31 (lst Cir. 1998). None of plaintiff's
allegations reasonably implicates this Court’s impartiality.
Plaintiff first argues that the judge’s suggestion to seek
counsel reveals a bias against pro se plaintiffs. It does not.
All civil litigants appearing pro se are urged by this judicial
officer (and by all other judicial officers of whom he is aware)
to retain counsel if he or she is able and such urging does not
constitute any kind of bias. To implicate a judge’s
impartiality, comments must “reveal such a high degree of
favoritism and antagonism as to make fair judgment impossible.”

Liteky v. United States, 510 U.S. 540, 555 (1994). On the other

hand, statements that express only “impatience, dissatisfaction,
annoyance, and even anger” do not demonstrate disqualifying
bias. Id. at 555-56.

Plaintiff also alleges that several of this Court’s rulings
reveal this judge’s bias because they were made “without regard
for the Plaintiff’s claims.” That is mistaken because “the mere

fact that a judge has ruled against a litigant is not evidence
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of bias and does not mandate recusal.” Talley v. Tyler, 648 F.

Supp. 3d 276, 282 (D. Mass. 2023). Plaintiff does not identify
a reason why any particular ruling would implicate this judge’s
impartiality beyond the fact that it was adverse to plaintiff.
Plaintiff further asserts that this Court has a “reputation
for moving cases along quickly” and for “impos[ing] a personal
limit of three years on cases on his docket,” Docket No. 128 at
2, but does not provide a reason why any such case management
decision would constitute bias. Plaintiff does not even
articulate the case management decisions with which he takes
issue. In sum, he neglects to provide any “articulable facts”

necessary to support recusal. In re United States, 666 F.2d at

695. His claims constitute precisely the kind of “{u]nsupported
speculation” that is “insufficient to warrant judicial recusal.”
Talley, 648 F. Supp. 3d at 282.

Finally, plaintiff posits that age played a role in
“undermin[ing] [his] right to a fair proceeding.” Docket No. 128
at 1. Section 455(a) mandates disqualification when a judge’s
impartiality on a particular case might be called into question,
not when his or her fundamental competency to preside over a
case is challenged. A trial court’s unforced errors, whether
due to'’age or some other cause, may be proper grounds for

appeal, but not recusal. See Seguin v. Suttel et al., No. 13-cv-

095-JNL-LM, 2013 WL 3461695, at *3 (D.R.I. July 9, 2013).
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ORDER

For the foregoing reasons, plaintiff’s motion for recusal
(Docket No. 128) is therefore DENIED.

So ordered.

Y (ethn.h pln

Nathaniel M. Gorton
United States District Judge

Dated: October ¢/ , 2024
